         Case 2:21-cv-09770-MCA-SDA                  Document 347           Filed 04/10/24          Page 1 of 19 PageID:
                                                           21023




               Affidavit of Ryan Dean, April 10, 2024, In Response To Order (ECF 332(A) In
                                        2:21-cv-09770-MCA-ESK)
           I, RYAN DEAN, of full age, hereby affirm, swear, and I have
           personal knowledge as to the following:

1.         I am a resident of the State of New York 1 and I am the Plaintiff in

this action.               This is the Affidavit of Ryan Dean, April 10, 2024, In

Response To The Order (ECF 332(A) In 2:21-cv-09770-MCA-ESK). 2 This

Affidavit also supports my “Motion For Alternative Service On the

Defendants Who Have Not Yet Made An Appearance In the USDC,” and the

corresponding affidavit (ECFs 235 series).

2.         I also rely on the Affidavit of Service of Daryol Forinash (a retired

California Sheriff) (ECF 201, Exhibit ‘1” (pg 4)) that detailed service

under NJ Ct R 4:4-4(c) per ECF 169, Footnote 20.




1
    As I have all my mail sent to 3540 W. Sahara Ave, 752, Las Vegas, NV, 89102.
2
    There was a Magistrate Judge change in this matter where Judge Allen has replaced Judge Kiel.




                                                                                                                           1
         Case 2:21-cv-09770-MCA-SDA                 Document 347           Filed 04/10/24   Page 2 of 19 PageID:
                                                          21024


3.         Below each of the defendants who have not yet made an appearance in

this matter will be discussed below. Then I will discuss the reasons (and

some case) law of why I should be allowed to serve these defendants via

substituted service.

4.         Defendant Sierra Global Management LLC (“Sierra”) is a key defendant

in this matter and a competitor hedge fund – thereby enabling me to invoke

the Noerr – Pennington Doctrine Exception dispensing with the ‘litigation

privilege.’             I know precisely where Sierra Global Management LLC is (750

Lexington Ave, 9th Fl, NY, NY, 10022) - and is located in an office

building in Manhattan – and I have been there.                                      It is within a building

that has security services on the first floor (like nearly other high rise

building in Manhattan) and these security guards (obviously) do not let

anyone access the elevator banks unless they have an appointment with

someone ‘upstairs.’ I will not be able to obtain an appointment to serve

Sierra and it appears no one is ever in the office anyways (see next ¶s).

5.         Knowing this I had the New York Sheriff Department pay a visit to

Sierra to serve the summons and complaint – and the Sheriff said that

“Address is a VIRTUAL OFFICE RENTED FROM ‘WEWORK’ COMPANY, UNABLE TO

SERVE” (ECF 259, PG 3). I have no other way of serving Sierra but by email

or via defendant Craig Peretz 3 – who used to be the COO of Sierra during

the time in question in 2016/2017.




3
    Or Craig Peretz via his attorney in this matter at email mdaquanni@madlawoffice.com.




                                                                                                                   2
      Case 2:21-cv-09770-MCA-SDA                    Document 347           Filed 04/10/24         Page 3 of 19 PageID:
                                                          21025


6.      Sierra on its website lists an email address to contact

“cfmichaels@sierraglobal.com”: 4




7.      Defendant and NJ ‘atty’ James Pryor (“Pryor”) was served the summons

and complaint at the offices of “Bell & Shivas, P.C.” 5 by Daryol Forinash

(Logan, Utah) on June 9, 2022 by USPS (with tracking number

9114.9999.4431.3537.1844.79 (“1844.79”)). The delivered USPS to Pryor was

refused & returned to sender (see Exhibit ‘1’ herein). In Exhibit ‘2’

herein, see USPS Tracking Notifications (by USPS texts) showing 1844.79

(A) departed Utah 06/07/22, (B) expected delivery 06/09/22, (C) delivered

06/09/22 & (D) returned to Logan, UT 06/25/22.                                       I still have these texts

from USPS on my phone should the USDC NJ need to inspect them.

8.      Pryor has always kept an office at “Bell & Shivas, P.C.” and Pryor

has been evading service since the onset of this matter. 6 In trying to show

efforts to serve Pryor (in response to the Order (ECF                                            332(A)) and not

expecting Pryor to be found at “Bell & Shivas, P.C.”, I paid a process


4
  See https://sierraglobal.com/contact/
5
  150 Mineral Springs Dr, PO Box 220, Rockaway, NJ, 07866.
6
  See ECF 235-4, pgs 126-131. See also Exhibit ‘4’ where I had previously tried to serve Pryor legal documents and it was returned
“attempted not known.” It appears that the “RTS” on Exhibits ‘1’ and ‘4’ were done by the same person.




                                                                                                                                     3
       Case 2:21-cv-09770-MCA-SDA                     Document 347             Filed 04/10/24          Page 4 of 19 PageID:
                                                            21026


server to go and make an attempt to serve Pryor – that was surprisingly

successful – on April 8, 2024 (See ECF 344).

9.       Note, the receptionist “Tina” said that Pryor ‘mostly works here on

weekends’ (see Exhibit ‘3’ pertinent part of service documentation). 7

10.      The Balance of the Immigration defendants not mentioned in ECF 169

(Footnotes 1 – 8) are yet to make an answer/oppose the Amended Complaint

in this matter are: Jo Balbiran, Borders Immigration Consultancy, Jennifer

Burns, Tatiana Cardozo De Cardoso, Doo Yong Choi, Rochelle Dickenson, 8 Eva

Eaton, Aileen Farrol, Susana Gabriela Najar De Lima, Olufunke Hamid-Oke,

Oluwadamilola Iwajomo, Robyn Jones, Matthew Lebaron, Eusook Lee, Evonne

Li, Hong Liu, Stacey Chanh Phong Ly, Adelaide Marbell, Christopher McNair,

Dalia Milmantas, Balvinder Pahl, Perminder Sidhu, Erica Stanley, Mark

Varnam, Xiao Xi, Andrew Yin & Jutta Zillegen.

11.      As I said in previous filings that perhaps there will be a settlement

with the Immigration Defendants and/or the matter will be filed in another

court absent some material development in this instant case. 9

12.      When this matter was first filed on April 19, 2021, it had the effect

of the lawyers in Canada alerting these defendants and recruiting them to

be part of the Ontario matter (see ECF 105-2, starting on pg 95) as a




7
  Contact Ms. Latrese Stewart at “Last Minute Messager Service LLC,” 210 Mountain Ave, Ste 1362, Springfield, NJ, 07081
(908.768.2885) for further verification & details.
8
  See Exhibit ‘5’ as just one example of previously trying to serve these Immigration defendants with the original complaint.
9
  See ECF 337-1 and upcoming Reply. The still seek the clarification that the matter is tolled to file in a different court as a basis to
remove the Existing Immigration Defendants from the caption.




                                                                                                                                            4
      Case 2:21-cv-09770-MCA-SDA                   Document 347           Filed 04/10/24        Page 5 of 19 PageID:
                                                         21027


strategy to defend in the US. Clearly, these defendants were made aware of

the matters in the USDC NJ (by the ‘lawyer defendants’).

13.     Other than the service made by Daryol Forinash under NJ Ct R 4:4-4(c)

I have not made further attempts to serve these defendants as they were

alerted to the complaint and were purposefully being evasive – just like

they were in the Ontario matter. I already made “despite diligent effort

and inquiry” to serve many of these defendants in the Ontario matter, and

therefore all I can do (and have done) is use the mails to serve.

14.     Also, I have been spending my time trying to pierce the “litigation

privilege” with various on-the-books case law regarding the Noerr –

Pennington Doctrine and the exceptions provided by Williams v. BASF

Catalysts LLC, 765 F.3d 306, 318 (3d Cir. 2014), for instance.

15.     During this entire time the USDC NJ did not view my Amended Complaint

through the lens of Brown v. Brown, No. A-0384-21 (February 3, 2022

(“Brown”)) (see ECF 341-1, ¶ 2) where the NJ Appellate Court defined the

limits of the ‘litigation privilege’ and “frivolous, vexatious, and

tortious” litigation is not protected by the ‘litigation privilege.’ It

was easy for the USDC NJ to apply Brown – but did not and instead I have

been diligently filing motions to undo the primary injustice regarding the

NJ/Florida based defendants and I have not had any time (nor money) to

chase down the Immigration defendants in Canada. 10



10
  Now is a good time to remind that USDC NJ that nearly every day we hear about some new case about a famous (usually a man)
being accused of sexual (anything) and it has the immediate affect of stopping that man’s life, destroying his future, and being




                                                                                                                                   5
      Case 2:21-cv-09770-MCA-SDA                     Document 347            Filed 04/10/24          Page 6 of 19 PageID:
                                                           21028


16.      To be clear - the purpose to extort is to extract and/or destroy (and

that is why it is so illegal) and if the extortion demands are not met

then what could be worse to a man than what Lisa Bissell and her crew have

done - and the Court protected/rewarded – and not even made Lisa Bissell

make an appearance in this matter?                               This is what I have had to deal with

in these matters – as well as the state case (and a few others) – all

related to Lisa Bissell and her 9 + conflicting and fabricated ‘story times’

regarding the same persons, events, and timelines – and other malfeasance.

17.      The Court is supposed to construe the complaint liberally and

especially so for pro se litigant – but has it? I offer this case law to

augment my point: “In summary, the Third Circuit recognizes the challenges

faced by pro se litigants and strives to interpret their complaints

liberally, searching for potential claims even when not explicitly stated.

This approach promotes access to justice and fairness in the legal

system.”          I respectfully submit that it was a harmful & plaint court error

in not applying Brown to my Amended Complaint and I have been spending my

time and efforts in trying to overcome the litigation privilege protecting

egregious extortion.

18.      This case law below also assists in showing that my pleading were not

construed liberally nor to do substantial justice:



permanently canceled (for starters). Of course, these famous people have lots of money to pay lawyers – while their money lasts –
and the damage caused is permanent and lasting. For the rest of the men in the nation who have been falsely accused of sexual
(anything) – they do not have money to pay lawyers and a disproportionately high number of these men simply choose suicide (do a
google search of ‘sexual assault accusation’ and ‘suicide’). I have been dealing with this evil going on 8 years now and it has certainly
been extreme extortion and manifest injustice as the malignant narcissist Lisa Bissell looks on and laughs. Brown should stop that.




                                                                                                                                            6
         Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 7 of 19 PageID:
                                            21029


       A document filed pro se is "to be liberally construed," Estelle, 429
       U.S., at 106, 97 S. Ct. 285, 50 L. Ed. 2d 251, and "a pro se complaint,
       however inartfully pleaded, must be held to less stringent standards than
       formal pleadings drafted by lawyers," ibid. (internal quotation marks
       omitted). Cf. Fed. Rule Civ. Proc. 8(f) ("All pleadings shall be so
       construed as to do substantial justice"). Erickson v. Pardus, 551 U.S.
       89, 94 (2007)
19.       This kind of case law above is in the entire Federal Court system in

all Circuits and of course in the Supreme Court of the United States:

  i.     Because the Plaintiff is pro se, the Court has a higher standard when
         faced with a motion to dismiss, White v. Bloom, 621 F.2d 276 makes this
         point clear and states: A court faced with a motion to dismiss a pro se
         complaint must read the complaint's allegations expansively, Haines v.
         Kerner, 404 U.S. 519, 520-21, 92 S. Ct. 594, 596, 30 L. Ed. 2d 652
         (1972), and take them as true for purposes of deciding whether they
         state a claim. Cruz v. Beto, 405 U.S. 319, 322, 92 S. Ct. 1079, 1081,
         31 L. Ed. 2d 263 (1972).

ii.      Pro se litigants' court submissions are to be construed liberally and
         held to less stringent standards than submissions of lawyers. If the
         court can reasonably read the submissions, it should do so despite
         failure to cite proper legal authority, confusion of legal theories,
         poor syntax and sentence construction, or litigant's unfamiliarity with
         rule requirements. Boag v. MacDougall, 454 U.S. 364, 102 S.Ct. 700, 70
         L.Ed.2d 551 (1982); Estelle v. Gamble, 429 U.S. 97, 106, 97 S.Ct. 285,
         50 L.Ed.2d 251 (1976)(quoting Conley v. Gibson, 355 U.S. 41, 45-46, 78
         S.Ct. 99, 2 L.Ed.2d 80 (1957)); Haines v. Kerner, 404 U.S. 519, 92
         S.Ct. 594, 30 L.Ed.2d 652 (1972); McDowell v. Delaware State Police,
         88 F.3d 188, 189 (3rd Cir. 1996); United States v. Day, 969 F.2d 39, 42
         (3rd Cir. 1992)(holding pro se petition cannot be held to same standard
         as pleadings drafted by attorneys); Then v. I.N.S., 58 F.Supp.2d 422,
         429 (D.N.J. 1999).

iii.     The courts provide pro se parties wide latitude when construing their
         pleadings and papers. When interpreting pro se papers, the Court
         should use common sense to determine what relief the party
         desires. S.E.C. v. Elliott, 953 F.2d 1560, 1582 (11th Cir. 1992). See
         also, United States v. Miller, 197 F.3d 644, 648 (3rd Cir. 1999) (Court
         has special obligation to construe pro se litigants' pleadings
         liberally); Poling v. K.Hovnanian Enterprises, 99 F.Supp.2d 502, 506-07
         (D.N.J. 2000).

iv.      Defendant has the right to submit pro se briefs on appeal, even though
         they may be in artfully drawn but the court can reasonably read and




                                                                                             7
      Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 8 of 19 PageID:
                                         21030


      understand them. See, Vega v. Johnson, 149 F.3d 354 (5th Cir.
      1998). Courts will go to particular pains to protect pro se litigants
      against consequences of technical errors if injustice would otherwise
      result. U.S. v. Sanchez, 88 F.3d 1243 (D.C.Cir. 1996).

v.    Moreover, "the court is under a duty to examine the complaint to
      determine if the allegations provide for relief on any possible
      theory." Bonner v. Circuit Court of St. Louis, 526 F.2d 1331, 1334 (8th
      Cir. 1975) (quoting Bramlet v. Wilson, 495 F.2d 714, 716 (8th Cir.
      1974)).

20.    The point again is that there has been (respectfully) a manifest

injustice in this matter and I have been focusing my efforts in trying to

deal with how to overcome the ‘litigation privilege’ the NJ/Florida

defendants cower behind - and the central core case law in Brown comports

to what I have been saying all along (see ECF 221, ¶ 22, 64 – 66 and how

it relates to Williams v. BASF Catalysts LLC, 765 F.3d 306, 314-15 (3d Cir.

2014)).

21.    As for service in NJ – none of these Immigration defendants are in NJ:


 If a plaintiff submits an affidavit and establishes that personal service
 cannot be effected “despite diligent effort and inquiry[,]” substitute
 modes of service may be permitted. N.J. Ct. R. 4:4-4(b). One substitute
 mode is that “any defendant may be served as provided by court order,
 consistent with due process of law.” N.J. Ct. R. 4:4-4(b)(3). Substituted
 service by email in NJ “is generally permitted where the movant has
 supplied the court with some facts indicating that the person to be
 served would be likely to receive the summons and complaint at the given
 email address.” Menon v. Corbett, No. 21-8384, 2022 WL 3998393, at *3
 (D.N.J. Sept. 1, 2022) (cleaned up) (citations omitted).

22.    I already gave the proposed email addresses of where to serve the

complaint (ECF 235-4, pg 135) and Richard Dennis, a resident of New York




                                                                                          8
         Case 2:21-cv-09770-MCA-SDA                 Document 347           Filed 04/10/24       Page 9 of 19 PageID:
                                                          21031


State and Director of the Immigration Consultants Regulator is best suited

to receive these complaints via email 11 (see also ¶ 29 below).

23.        Richard Dennis is the same man that I handily defeated in elections

at ICCRC in 2016 and the ICCRC with its blizzard of ‘discipline

complaints’ aimed at nothing I did ill as an immigration consultant was

spun around to try to remove me as an elected director – and thus those

complaints were done so in violation of case law like Brown.12

24.        As a sidenote: do we know of anyone else who claims that elections

were not proper, believes he was falsely accused of sexual assault, and

who essentially believes that legal process is being used to prevent him

from being the President of the United States once more?                                             Whether Your

Honor(s) likes President Trump or not is irrelevant.                                          What is relevant is

if he does become President again - he is very likely to make some Highly

Draconian Retroactive Leg/Exe Orders that I am sure to benefit from.

25.        Moving on…. I make the following comments now as it relates to the

‘service of process’ case law below (see ¶ 26) that seems to fit this

instant case best. None of the Immigration defendants are located in NJ -

and indeed are under the regulation of Richard Dennis through the College

of Immigration and Citizenship Consultants (“CICC”). It is very easy for

CICC to give the summons and complaint to the Immigration defendants, and

this is much easier than it was for Richard Dennis et al to organize the



11
     https://college-ic.ca/about-the-college/board-of-directors
12
     Of course, under the Canada Not For Profit Corporations Act only the members who elected me could lawfully remove me. Period.




                                                                                                                                     9
      Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 10 of 19 PageID:
                                         21032


overthrowing of elections, install Richard Dennis back as director, and

keep control of a regulator by recruiting these Immigration defendants.

Justice says that they cannot have it both ways by reaching into the

United States to ‘discipline me’ but then hide in Canada evading service.

26.    The Court is to measure the ‘quality’ of my efforts to serve these

defendants and I respond that the quality and quantity of my efforts in

this matter has been to get justice and deal with overcoming the

‘litigation privilege’ preventing justice - and where I think I have taken

nearly every conceivable effort to overcome the litigation privilege and

thus the various court filings:

 Lastly, Plaintiff's motion to effect service of process by alternate
 means, by serving the summons on Defendant's email address, is denied
 without prejudice. See Third Motion at 1-2. Federal Rule of Civil
 Procedure 4 governs the process for serving a defendant with a summons
 and complaint. Rule 4(e)(1) authorizes service on an individual within a
 judicial district of the United States by, among other things, “following
 state law for serving a summons in an action brought in courts of general
 jurisdiction in the state where the district court is located or where
 service is made,” unless federal law provides otherwise. Fed.R.Civ.P.
 4(e)(1). As the forum state, NJ's service rules apply here. NJ Court Rule
 4:4-4(a) provides that personal service is the primary method to serve a
 defendant located within the state. If a plaintiff submits an affidavit
 and establishes that personal service cannot be effected “despite
 diligent effort and inquiry[,]” substitute modes of service may be
 permitted. N.J. Ct. R. 4:4-4(b). One substitute mode is that “any
 defendant may be served as provided by court order, consistent with due
 process of law.” N.J. Ct. R. 4:4-4(b)(3). Substituted service by email in
 NJ “is generally permitted where the movant has supplied the court with
 some facts indicating that the person to be served would be likely to
 receive the summons and complaint at the given email address.” Menon v.
 Corbett, No. 21-8384, 2022 WL 3998393, at *3 (D.N.J. Sept. 1, 2022)
 (cleaned up) (citations omitted). “Regardless of the type of action,
 substitute or constructive service requires a demonstration of due
 diligence that satisfies the requirements specified in NJ Court Rule 4:4-
 5(b).” H.D. Smith, LLC v. Prime Rite Corp., No. 16-294, 2016 WL 3606785,
 at *1 (D.N.J. July 5, 2016). “Diligence has no fixed standard.” Id. at *2




                                                                                           10
      Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 11 of 19 PageID:
                                         21033


 (citing Modan v. Modan, 327 N.J.Super. 44, 48 (App. Div. 2000)). “Namely,
 the ‘elementary and fundamental requirement of due process' is that there
 be ‘notice reasonably calculated, under all the circumstances, to apprise
 interested parties of the pendency of the action and afford them an
 opportunity to present their objections.'” Id. (quoting O'Connor v.
 Altus, 67 N.J. 106, 126 (1975)). “Accordingly, when considering
 diligence, the Court conducts a fact-sensitive inquiry ‘measured by the
 qualitative efforts of a specific plaintiff seeking to locate and serve a
 specific defendant.'” Id. (quoting Modan, 327 N.J.Super. at 48).
 “Diligence requires that a plaintiff follow up on information it
 possesses or can reasonably obtain, but it does not necessarily mean a
 plaintiff take every conceivable action.” Id. (citing Modan, 327
 N.J.Super. at 48-49). “‘In short, a plaintiff must demonstrate a good
 faith, energetic effort to search and find a defendant whose address is
 unknown, or who is allegedly evading service, before resorting to
 alternate means of substitute service.'” Grange Ins. Co. v. Hankin, No.
 21-11928, 2022 WL 855694, at *3 (D.N.J. Mar. 23, 2022) (quoting J.C. v.
 M.C., 438 N.J.Super. 325, 331 (Ch. Div. 2013))…. The U.S. Marshals
 Service attempted to complete personal service on Defendant at the
 address, but the location was found not to exist. ECF No. 10, Summons
 Returned Unexecuted. However, as in Santiago, Plaintiff has not exhausted
 all remaining reasonable means to find Defendant's street address.
 Plaintiff has not indicated that he has investigated other possible
 addresses. Further, the Order accompanying this Opinion authorizes
 Plaintiff to serve third-party subpoenas on Meta and Google to request
 Defendant's name and address. See supra § I. If Defendant is identified
 and located through the return of the subpoenas, personal service may
 still be possible, making substitute service by email unnecessary. If the
 subpoenas do not provide this information, Plaintiff may file a renewed
 motion to effect service of process by alternate means. Mizrahi v. Anna,
 23-2462 (CPO)(EAP), 16-19 (D.N.J. Nov. 3, 2023)

27.    With respect to utilizing the US Marshall to serve process - here is

what the USDC NJ did when one litigant did not file a motion for “in forma

pauperis” and I use it is at just one example to show (some) of the

injustice in this matter:




                                                                                           11
      Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 12 of 19 PageID:
                                         21034




28.    Of course, I filed a motion for in forma pauperis (ECF 46) as well as

in 2:19-cv-18255-MCD-LDW (ECF 49) and 2:20-cv-07393-MCA-LDW (ECF 60). Here

is what the Third Circuit had to say with respect to 07393:




29.    Obviously, Canada, the US, the USDC NJ, and especially the US

Marshall would not appreciate an Order having the US Marshall take a vast

tour of Canada serving these various Immigration defendants when one stop

at Richard Dennis’ NY residence will suffice. I can pay for one trip of

the US Marshall (or NY Sheriff) to visit Richard Dennis to serve these

documents or the equivalent Sheriff in Canada to serve CICC (see also ECF




                                                                                           12
       Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 13 of 19 PageID:
                                          21035


235-1, Legal Argument VI – Richard Dennis is a director of the regulator

and he can receive service of summons and complaint).

30.     There is also a perfectly ‘good’ CICC monthly newsletter going out to

all members – which would be publication in a newspaper and would serve

notice onto these defendants (and their names could even appear).

31.     Also, Natalie Kewley (an Immigration defendant) had representation

then did not have representation in the USDC NJ – but was served – and has

not filed an answer (see ECF 61) and/or made an opposition to this matter.

32.     I also refer to and fully incorporate my “Fraud on the Court” Motion

(ECF 341-1) and upcoming Reply herein.

33.     It is for these reasons that I ask for substituted service by

allowing me to:

  i.    Serve Sierra by email at cfmichaels@sierraglobal.com or in the
        alternative through Craig Peretz’ NJ ‘atty’ D’Aquanni (at email:
        mdaquanni@madlawoffice.com).
 ii.    Deem James Pryor Served as of June 2022 or in the alternative note
        that the process server personally served the summons and complaint
        onto James Pryor on April 8, 2022 (ECF 344).
iii.    Allow service of the Amended Complaint on the Immigration defendants
        noted in ¶ 10 above to be served by either:
           a)   Email to Richard Dennis at rdennis@college-ic.ca
           b)   An Order for the US Marshall/NY Sheriff to serve Richard Dennis
                in the state of NY (which I will pay for) or the Canadian
                Equivalent.
           c)   Use CICC’s monthly newsletter to the entire membership that also
                goes to these particular Immigration defendants.




                                                                                            13
      Case 2:21-cv-09770-MCA-SDA                       Document 347             Filed 04/10/24           Page 14 of 19 PageID:
                                                             21036


iv.      Order Natalie Kewley to answer the complaint and/or oppose it as Ms.

         Kewley has already been served and has made an appearance.

I affirm that the foregoing STATEMENTS MADE BY ME ARE TRUE. I am aware that if any of the foregoing statements made by me are willfully false, I
                                                       am subject to punishment.




                                                                                                                                                   14
Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 15 of 19 PageID:
                                   21037




                                                                                     15
Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 16 of 19 PageID:
                                   21038




                                                                                     16
Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 17 of 19 PageID:
                                   21039




                                                                                     17
Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 18 of 19 PageID:
                                   21040




                                                                                     18
Case 2:21-cv-09770-MCA-SDA   Document 347   Filed 04/10/24   Page 19 of 19 PageID:
                                   21041




                                                                                     19
